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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

 

ASTRAZENECA PHARMACEUTICALS LP,
IPR PHARMACEUTICALS, INC.,
ASTRAZENECA AB, and THE BRIGHAM
AND WOMEN’S HOSPITAL, INC.,

 

Plaintiffs, No. 1:10-CV-00342-RBK-KW

v.
MYLAN PHARMACEUTICALS INC.,

Defendant.

 

 

DEFENDANT’S BRIEF IN SUPPORT OF ITS RULE 12(b)(1) AND 12()(6)
MOTION-TO DISMISS THE AMENDED COMPLAINT

A

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